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                         UNITED STATES DISTRICT COURT

                         MIDDLE DISTRICT OF LOUISIANA


AUDREY DANDRIDGE                                  NUMBER:

VS.

BIO-MEDICAL APPLICATIONS OF
LOUISIANA, LLC AND CUNA
INSURANCE COMPANY

                               NOTICE OF REMOVAL

      NOW INTO COURT, through undersigned counsel, comes defendant, Bio-

Medical Applications of Louisiana LLC (“BMA”) (hereinafter referred to as “Remover”)

who, pursuant to 28 U.S.C § 1441 and 1446, respectfully files this Notice of Removal. In

support of this removal, Remover asserts the following:

                                            I.

      On or about August 1, 2007, plaintiff filed this suit in the 18th Judicial District

Court, Parish of West Baton Rouge, State of Louisiana, which is now pending therein

bearing Suit Number 36,465 Division B.

                                            II.

      This Notice of Removal is being filed within thirty (30) days after the receipt,

through service or otherwise, of a copy of the initial pleading setting forth the claim for

relief against Remover upon which the state court action or proceeding is based.

Remover was served with this initial pleading through undersigned counsel on or about

October 8, 2007.
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                                               III.

           This suit is being removed less than one year after commencement of this action in

state court.

                                               IV.

           Pursuant to 28 U.S.C. § 1441(a), the United States District Court for the Middle

District of Louisiana, is the district and division within which the above described state

court suit is pending.

                                                V.

           This court has jurisdiction pursuant to 28 U.S.C. § 1332 and 28 U.S.C. § 1441

because this action is between citizens of different states and the amount in controversy

exceeds SEVENTY FIVE THOUSAND DOLLARS ($75,000), exclusive of costs and

interests.

                                               VI.

           Plaintiff, upon information and belief, is a citizen of the State of Louisiana. BMA

is a Delaware Corporation with its principal place of business in the State of

Massachusetts.

                                               VII.

           Remover reasonably believes and avers that the amount in controversy in the above

entitled action, exclusive of interest and costs, will exceed the jurisdictional amount of

SEVENTY FIVE THOUSAND DOLLARS ($75,000) set forth in 28 U.S.C. § 1332 and

incorporated in 28 U.S.C. § 1441(a) which allows removal of state court suits to federal

court. Specifically, the state court petition alleges “serious and progressive injury to her

431538.1                                        2
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